Case 20-13438-SMG Doc 25 Filed 04/16/20 Page 1of9

Fill in this information to identify your case:

 

 

 

Debtor 1 Grisell Hernandez

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
United States Bankruptcy Court for the: DIVISION

 

Casenumber 20-13438-SMG
(if known) OO Check if this is an

amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

ise Oummarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule AVB..........00.. ccc ccccccccccssseeeeecscsseeececseseeeescseeeseessaseeseeeneaeese ene $ 395,000.00
1b. Copy line 62, Total personal property, from Schedule A/B............cc ccc cccccccseeceecsseseeeeccsseeeeececseeeeesesssseeeseesetans $ 73,944.92
1c. Copy line 63, Total of all property on Schedule A/B..............cc cc ccccccccccssseseeecsceseeececsseseeeescsateeeessssseeeeeeseeeeeen esas $ 468,944.92

lies Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column AAmount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 435,010.79
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e echedule EF... eee $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j e¥chedule E/F................e $ 741,409.25
Your total liabilities | $ 1,176,420.04

 

 

 

ies Summarize Your Income and Expenses

4. Schedule |: Your income (Official Form 1061)
Copy your combined monthly income from line 12 OBCHEMUIE Loo... cc cece ccccctctseeeeccsseeeeeessseeeeeesnsaseeeseeseeeeeeses $ 5,466.67

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHECUIE Joo... ccc cccccccccccteceteeseeneeeeeeesssaeeseeeseaeeeesenea $ 4,240.66

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
O_ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

mi =Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C§ 159.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 Hernandez, Grisell Case number (if known) 20-13438-SMG

 

t9

 

OJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the

court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

 

 

 

 

 

 

 

 

122A-1 Line 11:OR, Form 122B Line 11:OR, Form 122C-1 Line 14. 5,466.67
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Fill in this information to identify your case:

 

 

 

Debtor 1 Grisell Hernandez

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
United States Bankruptcy Court for the: DIVISION

 

Casenumber 20-13438-SMG
(if known) OO Check if this is an

amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).

lime List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

a No. Go to Part 2.

0 ves.

ilies List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

D1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part

 

 

 

 

 

2.
Total claim
[4 | Antonio Balestena Jr. Last 4 digits of account number $732,297.25
Nonpriority Creditors Name
c/o Sahr O. Dumbar, Esq. When was the debt incurred?
1200 Brickell Ave Ste 1950
Miami, FL 33131-3298
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D1 Debtor 1 only O Contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only Hi Disputed
WH At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
O ves MH other. Specify disputed final judgment
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 6

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Debtor1 Hernandez, Grisell

Case number {f known) 20-13438-SMG

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Antonio Balestena Sr Last 4 digits of account number unknown
Nonpriority Creditors Name
When was the debt incurred?
15736 SW 102nd Ln
Miami, FL 33196-5411
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
D1 Debtor 1 only O Contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only Hi Disputed
WH At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
D1 Yes WH other. Specify
| 43 Comenitycap/eldorado Last 4 digits of account number 9878 $2,278.00
Nonpriority Creditors Name
When was the debt incurred? 2019-09
PO Box 182120
Columbus, OH 43218-2120
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only D1 contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
O ves Mother. specify Revolving account
| 4.4 Leaf Funding Inc. Last 4 digits of account number unknown
Nonpriority Creditors Name
c/o Donald E. Fucik, Esq. When was the debt incurred?
950 S Pine Island Rd
Plantation, FL 33324-3918
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only D1 contingent
1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only a Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
D1 Yes WH other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 6

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Debtor1 Hernandez, Grisell

[ee]

Case number {f known) 20-13438-SMG

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Leaf Funding, Inc. Last 4 digits of account number unknown
Nonpriority Creditors Name
When was the debt incurred?
1 Commerce Square 2005 Market
St Fl 14
Philadelphia, PA 19019
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH Debtor 1 only D1 contingent
1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only a Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
D1 Yes WH other. Specify
| 46 Merrick Bank Corp Last 4 digits of accountnumber 0719 $625.00
Nonpriority Creditors Name
When was the debt incurred? 2019-05
PO Box 9201
Old Bethpage, NY 11804-9001
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH pebtor 1 only O Contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
yes MH other. Specify Revolving account
[47 | Mission Lane/Tab Bank Last 4 digits of account number 8910 $809.00
Nonpriority Creditors Name
When was the debt incurred? 2019-05
PO Box 105286
Atlanta, GA 30348
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH pebtor 1 only O Contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
yes MH other. Specify Revolving account
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 6

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Debtor1 Hernandez, Grisell

Case number {f known) 20-13438-SMG

 

 

 

 

 

 

 

 

 

 

 

 

[48 Nordstrom/Td Bank USA Last 4 digits of accountnumber 1147 $4,541.00

Nonpriority Creditors Name
When was the debt incurred? 2006-03

13531 E Caley Ave
Englewood, CO 80111-6504
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH pebtor 1 only O Contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
yes MH other. Specify Revolving account

| 49 Portfolio Recov Assoc Last 4 digits of account number 5593 $771.00
Nonpriority Creditors Name

When was the debt incurred? 2014-04
120 Corporate Blvd Ste 100
Norfolk, VA 23502-4952
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH pebtor 1 only O Contingent
D1 Debtor 2 only D1 unliquidated
D1 Debtor 1 and Debtor 2 only O Disputed
D1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno 0 Debts to pension or profit-sharing plans, and other similar debts
yes Wl other. Specify Open account
4.10 Wells Fargo Bank Last 4 digits of account number 4297 $88.00

 

Nonpriority Creditors Name
Credit

Bureau DISPUTE
Des Moines, IA 50301

 

Number Street City State Zip Code
Who incurred the debt? Check one.

WH pebtor 1 only

D1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

D1 check if this claim is for a community
debt

Is the claim subject to offset?

a No
yes

When was the debt incurred?

2018-11

 

As of the date you file, the claim is: Check all that apply

O Contingent
D1 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

D1 student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

Wl other. Specify Revolving account

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F

 

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Hernandez, Grisell

Case number {f known) 20-13438-SMG

 

Name and Address
Comenitycb/el Dorado
Attn: Bankruptcy Dept

PO Box 182125
Columbus, OH 43218-2125

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.3 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 9878

 

Name and Address

Merrick Bank/Cardworks
Attn: Bankruptcy

PO Box 9201

Old Bethpage, NY 11804-9001

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.6 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 0719

 

Name and Address

Mission Lane LLC

Attn: Bankruptcy Notice

237 Kearny St # 197

San Francisco, CA 94108-4502

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.7 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 8910

 

Name and Address

Nordstrom Signature Visa
Attn: Bankruptcy

PO Box 6555

Englewood, CO 80155-6555

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.8 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 1147

 

Name and Address

Portfolio Recovery
Attn: Bankruptcy

120 Corporate Blvd
Norfolk, VA 23502-4952

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.9 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 5593

 

Name and Address

Sahr Dumbar, Esq

1200 Brickell Ave Ste 1950
Miami, FL 33131-3298

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.2 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Sahr Dumbar, Esq

1200 Brickell Ave Ste 1950
Miami, FL 33131-3298

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.1 of (Check one): D1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Wells Fargo Bank NA
Attn: Bankruptcy

1 Home Campus # MAC X2303-01A

Des Moines, IA 50328-0001

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.10 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

WH Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number 4297

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total claims TT
from Part 1 6b. Taxes and certain other debts you owe the government 6b. 0.00
6c. Claims for death or personal injury while you were intoxicated 6c. 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. 0.00
6e. Total Priority. Add lines 6a through 6d. Ge. 0.00

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Hernandez, Grisell Case number (f known) 20-13438-SMG
Total Claim
6f. Student loans 6f. $ 0.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g. $ "
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
here Prouy $ 741,409.25
6j. Total Nonpriority. Add lines 6f through 6i. 6j. $ 741,409.25
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 6

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Fill in this information to identify your case:

 

 

 

Debtor 1 Grisell Hernandez

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
United States Bankruptcy Court for the: DIVISION

 

Casenumber 20-13438-SMG
(if known) OO Check if this is an

amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 4245

 

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

S| Sian Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No

O Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X /s/ Grisell Hernandez X

 

Grisell Hernandez Signature of Debtor 2
Signature of Debtor 1

Date April 16, 2020 Date

 
